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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

PATRICK J. DOHERTY,                           )
                                              )
                       Plaintiff,             )
                                              )
       v.                                     )       Case No.
                                              )
WASHINGTON FEDERAL BANK FOR                   )
SAVINGS, JOHN GEMBARA,                        )
individually and as president of              )
Washington Federal Bank, JANE TRAN,           )
and CROWLEY AND LAMB, P.C.,                   )
                                              )
                       Defendants.            )

                         THE FEDERAL DEPOSIT INSURANCE
                        CORPORATION’S NOTICE OF REMOVAL

       The FEDERAL DEPOSIT INSURANCE CORPORATION, as Receiver for Washington

Federal Bank for Savings (“FDIC-R”), by and through its attorneys Ronald Austin, Jr. and

Ashley Starks, and pursuant to 12 U.S.C. § 1819(b)(2)(B), gives Notice of Removal of this cause

to the United States District Court for the Northern District of Illinois, Eastern Division, from the

Appellate Court of Illinois, First District. The FDIC-R further states:

       1.      On June 28, 2016, Plaintiff filed a five-count Complaint in the Circuit Court of

Cook County, Illinois, against Defendants, Washington Federal Bank for Savings (“Washington

Federal”), its President John Gembara, its Corporate Secretary Jane Tran, and its outside counsel

Crowley & Lamb, P.C., asserting causes of action for breach of contract, forgery, excessive fees,

fraud, and legal malpractice. These claims were related to a loan extended to a limited liability

company, Worth Conversion, LLC. The loan was the subject of a previous lawsuit.
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       2.      On August 15, 2016, Defendants filed a motion to dismiss the Complaint. On

August 22, 2016, an order was entered granting the motion and allowing Plaintiff leave to file his

Amended Complaint.

       3.      On August 31, 2016, Plaintiff filed his Amended Complaint, asserting the same

causes of action for breach of contract, forgery, excessive fees and fraud. However, Plaintiff

asserted a claim for malicious prosecution instead of the legal malpractice claim.

       4.      On September 13, 2016, Defendants filed a motion to dismiss the Amended

Complaint with prejudice. On October 12, 2016, the court granted the Defendants’ motion.

       5.      On November 9, 2016, Plaintiff filed a motion seeking to vacate or strike the final

order dismissing the action. This motion was denied on December 20, 2016.

       6.      On January 17, 2017, Plaintiff filed a Notice of Appeal to the Illinois Appellate

Court, docketed as No. 1-17-0161.

       7.      On December 15, 2017, the Office of the Comptroller of the Currency closed

Washington Federal and appointed the Federal Deposit Insurance Corporation as Receiver,

pursuant to 12 U.S.C §1464(d)(2) and §1821(c)(5). FDIC-R accepted the appointment as

Receiver on the same date.

       8.      On January 8, 2018, the FDIC-R filed its Motion of Substitution as Receiver for

Washington Federal in this action. This motion was granted on January 24, 2018. A copy of the

order is attached as Exhibit A.

       9.      Congress has given the Federal Deposit Insurance Corporation broad power to

remove cases from state court. See 12 U.S.C. § 1819(b)(2)(A) (providing that all actions in

which the FDIC is a party are “deemed to arise under the laws of the United States.”).

Specifically, 12 U.S.C. § 1819(b)(2)(B) provides that the Federal Deposit Insurance Corporation




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“may, without bond or security, remove any action, suit, or proceeding from a State court to the

appropriate United States district court before the end of the 90-day period beginning on the date

the action, suit, or proceeding is filed against the [FDIC] or the [FDIC] is substituted as a party.”

This case is removable even though it is pending before a state appellate court. See Federal

Deposit Ins. Corp. v. Meyerland Co., 960 F.2d 512, 516-17 (5th Cir. 1992) (“Meyerland”); Reilly

v. Waukesha County, 993 F.2d 1284, 1286-87 (7th Cir. 1993) (citing Meyerland); Mehta v. Shah,

113 F. App’x 165, 166-67 (7th Cir. 2004) (reviewing appeal in case that the FDIC as receiver

had removed to a district court from the Illinois Appellate Court).

        10.     12 U.S.C. § 1819(b)(2)(D) does not apply to this action because, among other

reasons, Washington Federal was not a state-chartered bank and the FDIC-R was not appointed

by state authorities.

        11.     This Notice of Removal is made and filed within 90 days from the date the

Federal Deposit Insurance Corporation was substituted as a party in this action, therefore

removal to the United States District Court for the Northern District of Illinois is proper.

        12.     Attached hereto as Group Exhibit B is the Record on Appeal, and attached as

Exhibit C is Plaintiff’s Appellate Brief, all of which predate the FDIC-R’s appearance in this

action. 1 Pursuant to 28 U.S.C. § 1446(a), attached are the documents served upon the FDIC-R in

this action: Defendants John Gambara, Jane Tran, and Crowley & Lamb, P.C.’s Response Brief

(Exhibit D) and Motion to Substitute Counsel (Exhibit E).




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       Out of an abundance of caution the FDIC-R has redacted loan numbers referenced in
several documents in the Record on Appeal, although redaction may not be required under
Federal Rule 5.2(a) & (b).


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       13.     The FDIC-R will promptly serve notice of the filing of this Notice of Removal on

all parties of record in this action and on the Illinois Appellate Court, pursuant to 28 U.S.C. §

1446(d).

       14.     The FDIC-R reserves the right to supplement this Notice of Removal when

additional information becomes available. The filing of this Notice is subject to, and without any

waiver of, any and all applicable defenses or objections.

Dated: January 30, 2018
                                              Respectfully submitted,

                                              FEDERAL DEPOSIT INSURANCE
                                              CORPORATION, AS RECEIVER FOR
                                              WASHINGTON FEDERAL BANK FOR
                                              SAVINGS


                                              By: /s/ Ronald Austin, Jr.
                                                    Ronald Austin, Jr.
Ronald Austin, Jr.
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                                CERTIFICATE OF SERVICE

       I, Ronald Austin, Jr., an attorney, certify that I served a copy of The Federal Deposit

Insurance Corporation’s Notice of Removal on the parties listed below by depositing a true

and correct copy of same, with postage prepaid, in the U.S. Mail Chute located at 230 West

Monroe Street, Chicago, Illinois, prior to 5:00 p.m. on this 30th day of January, 2018.


       James M. Crowley                              Patrick J. Doherty
       Plunkett Cooney, P.C.                         7826 W. 103rd St.
       221 N. LaSalle St., Suite 1550                Palos Hills, Illinois 60465
       Chicago, Illinois 60601



                                                             /s/ Ronald Austin, Jr.
                                                                 Ronald Austin, Jr.


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